       Case 3:19-cv-01671-BR           Document 18     Filed 10/18/19   Page 1 of 12




Markus B.G. Oberg, OSB #112187
Daniel J. Park, OSB #132493
LE GROS BUCHANAN & PAUL
4025 Delridge Way SW, Suite 500
Seattle, Washington 98106-1271
Phone:      206-623-4990
Facsimile: 206-467-4828
Email: moberg@legros.com
Email: dpark@legros.com
Attorneys for Movant Amis Integrity S.A.
by restricted appearance


                                  UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF OREGON

                                       PORTLAND DIVISION

DRY BULK SINGAPORE PTE. LTD,                         Case No. 3:19-cv-1671

                     Plaintiff,                      IN ADMIRALTY

                             v.                      EMERGENCY MOTION TO VACATE
                                                     ARREST AND FOR ATTORNEYS’ FEES,
Amis Integrity S.A., in personam and M/V             COSTS, AND EXPENSES FOR
AMIS INTEGRITY (IMO 9732412) her                     WRONGFUL ARREST; AND REQUEST
engines, freights, apparel, appurtenances,           FOR EXPEDITED HEARING
tackle, etc., in rem,                                PURSUANT TO ADMIRALTY RULE
                                                     E(4)(f) AND LOCAL RULE 1017-1
                     Defendants.
                                                     EXPEDITED HEARING REQUESTED



                                     I. EMERGENCY MOTION

          Movant Amis Integrity, S.A., by restricted appearance under Rule E(8),1 by and

through its counsel of record, moves this Court for an order vacating the arrest of the M/V


1
 Amis Integrity, S.A., appears solely for the purpose of disputing and defending against this
wrongful arrest pursuant to Rule E(8), and disputes and does not concede that the Court has
or that it is subject to personal jurisdiction in Oregon. This entity has no contacts with
Oregon; the vessel was directed to the U.S. by a charterer.

EMERGENCY MOTION TO VACATE, FOR FEES AND COSTS; AND
REQUEST FOR EXPEDITED HEARING - Page 1
[Case No. 3:19-cv-1671]

{29293-00550342;3}
       Case 3:19-cv-01671-BR        Document 18      Filed 10/18/19     Page 2 of 12




AMIS INTEGRITY, and for an award of its expenses incurred, including attorneys’ fees and

costs, for this wrongful arrest. Movant requests an expedited show cause hearing pursuant to

Rule E(4)(f) and Local Rule 1017-1. In compliance with LR 7-1(a), Movant’s counsel

confirms that the parties made a good faith effort through telephone conference to resolve the

dispute and have been unable to do so.

                                    II. INTRODUCTION

          Plaintiff Dry Bulk Singapore, Ltd. (“Dry Bulk”) has wrongfully seized the M/V

AMIS INTEGRITY in violation of longstanding precedent holding that a sub-charterer has no

right to assert a lien against a vessel owner. There is no privity of contract between Plaintiff

Dry Bulk and the vessel owner; Plaintiff Dry Bulk’s dispute is with a third party (“24Vision”);

Dry Bulk has no maritime lien against the vessel; the charter between the vessel owner and

24Vision precludes a maritime lien; and the vessel was properly withdrawn from the charter

between the vessel owner and 24Vision under English law.

          The facts are clear. Amis Integrity S.A. chartered the vessel to 24Vision Chartering

Solutions, DMCC (“24Vision”). Dkt #1 (Complaint), ¶6. 24Vision entered a sub-charter

with Plaintiff Dry Bulk. Id., ¶10. The Complaint alleges a further sub-charter between Dry

Bulk and Trithorn. Id., ¶20.

          24Vision failed   to make the payments under its charter agreement with Amis

Integrity, S.A., and Amis Integrity, S.A., issued notice to 24Vision of its intent to terminate

the charter and withdraw the vessel. Ex. 2 to Declaration of Huan Rong Jang (“Jang Decl.”)

Under Paragraph 11 of the charter between 24Vision and Amis Integrity, S.A., Amis

Integrity, S.A., had an absolute right to “withdraw the Vessel from the service of Charterers”




EMERGENCY MOTION TO VACATE, FOR FEES AND COSTS; AND
REQUEST FOR EXPEDITED HEARING - Page 2
[Case No. 3:19-cv-1671]

{29293-00550342;3}
       Case 3:19-cv-01671-BR         Document 18      Filed 10/18/19     Page 3 of 12




if 24Vision failed to timely make hire payments. Ex. 1 to Jang Decl., ¶11; see also Ex. 1 to

Declaration of M. Nolan Q.C. (“Nolan Q.C. Decl.”).

          Furthermore, Paragraph 23 of the charter between 24Vision and Amis Integrity, S.A.,

expressly precludes the charterer from causing any liens to be created against the vessel. Id.

at ¶23.

          Thus, the vessel was withdrawn from the charter with 24Vision, Ex. 3 to Jang Decl.,

and 24Vision has not disputed this termination of the charter or the validity of the vessel’s

withdrawal from this time charter. Jang Decl., ¶8.

          Indeed, the charter was governed by English law, Ex. 1 to Jang Decl., ¶45; Dkt #9,

¶14, and the withdrawal was valid under English law. Ex. 1 to Nolan Q.C. Decl.

        The case law clearly establishes (over the last 35 years) that a sub-charterer cannot

assert a maritime lien in these circumstances. See Cardinal Shipping Corp. v. M/S SEISHO

MARU, 2641, 744 F.2d 461, 467-70 (5th Cir. 1984) (sub-charter lien cannot arise where it

conflicts with charter’s right of withdrawal; or where barred by prohibition-of-lien clause)

(Ex. 1 to Declaration of Markus Oberg (“Oberg Decl.”)); MMI International, Inc. v. M/V

SKYROS, 1991 AMC 1264, 1267-68, 1274 (N.D. Cal. 1991) (dismissing sub-charterer lien

claim where primary charter party included prohibition-of-lien clause) (Ex. 2 to Oberg Decl.).

          Plaintiff must know this, yet proceeds with this wrongful arrest, and the vessel owner

is entitled to its fees and costs.


                                     III. APPLICABLE LAW

          Rule E(4)(f) provides that “[w]henever property is arrested or attached, any person

claiming an interest in it shall be entitled to a prompt hearing at which the plaintiff shall be

required to show why the arrest or attachment should not be vacated…”
EMERGENCY MOTION TO VACATE, FOR FEES AND COSTS; AND
REQUEST FOR EXPEDITED HEARING - Page 3
[Case No. 3:19-cv-1671]

{29293-00550342;3}
       Case 3:19-cv-01671-BR          Document 18      Filed 10/18/19     Page 4 of 12




          “Plaintiff has the burden of justifying a continued attachment.”    Equatorial Marine

Fuel Mgmt. Servs. PTE v. MISC Berhad, 591 F.3d 1208, 1210 (9th Cir. 2010) (citing Fed. R.

Civ. P., Supp. R. E(4)(f); see also Vitol, S.A. v. Primerose Shipping Co. Ltd., 708 F.3d 527,

541 (4th Cir. 2013). Plaintiff must show “it has a valid prima facie admiralty claim against

the defendant; the defendant cannot be found within the district; the defendant property may

be found in the district; and there is no statutory or maritime law bar to the attachment” Id.

Plaintiff is required to show that it is “‘reasonably likely to prevail’ on the merits.” Monjasa

A/S v. M/V Peristil, No. 3:12-cv-01489-BR, 2013 U.S. Dist. LEXIS 82583, at *10-11 (D. Or.

June 12, 2013) (citations omitted). Under Rule C, a “plaintiff must establish that it was

entitled to a maritime lien.” Newport News Shipbuilding & Dry Dock Co. v. S.S. Indep., 872

F. Supp. 262, 265 (E.D. Va. 1994); Rule C(1)(a).

        Furthermore, Rule E(2)(a) requires that Plaintiff plead the allegations with
particularly. “Rule E(2)(a)’s requirement for pleading specific circumstances is one part of
the process which guards against the improper use of admiralty seizure proceedings. Thus,
the rule’s heightened particularity in pleading requirement is always subject to the general
standard that the complaint sufficiently notifies the defendant of the incident in dispute and
afford a reasonable belief that the claim has merit.” Riverway Co. v. Spivey Marine and
Harbor Service Co., 598 F. Supp. 909, 913 (S.D. Ill. 1984). Indeed, the initial arrest process
proceeds ex-parte with no opportunity for the vessel interests to object to any representations
made.

                                        IV. ARGUMENT

          1.         Plaintiff has Not Plead a Valid Maritime Lien; No Lien is Created when
                     a Vessel Is Withdrawn from Service Under a Charter

          The claim asserted by Plaintiff here is virtually identical to that rejected in Cardinal

Shipping Corp. v. M/S SEISHO MARU, supra., 744 F.2d at 467-69. As here, that case

involved a sub-charterer’s claim for loss of use and damages when a primary charterer

withdrew the vessel from its charter. In Cardinal Shipping, the vessel owner (Aizawa Kaiun)

chartered the vessel to Nakamura Steamship. Nakamura Steamship in turn subchartered the
EMERGENCY MOTION TO VACATE, FOR FEES AND COSTS; AND
REQUEST FOR EXPEDITED HEARING - Page 4
[Case No. 3:19-cv-1671]

{29293-00550342;3}
       Case 3:19-cv-01671-BR        Document 18      Filed 10/18/19     Page 5 of 12




vessel to Clover Trading Corp. Clover Trading then entered into a voyage charter with

Cardinal Shipping. After a dispute over payment between Nakamura Steamship and Clover

Trading, Nakamura Steamship withdrew the vessel from the charter with Clover Trading.

Cardinal Shipping, a sub-charterer further down the chain, lost use of the vessel and suffered

damages. The Fifth Circuit rejected the existence of a maritime lien against the vessel where

the vessel had been withdrawn from service. The Court explained that allowing such a lien

would “effectively torpedo the owner’s right of withdrawal.” Id. at 468.2

          This is the situation before the Court in this case. There is no direct contractual

relationship between Plaintiff Dry Bulk and the owner of the vessel. Instead, Dry Bulk is

merely a sub-charterer further down the chain. Its contractual relationship is with 24Vision.

Dkt #1 (Complaint), ¶10.

          Moreover, under the primary charter (between 24Vision and Amis Integrity) the

vessel could be withdrawn for nonpayment of charter hire. Indeed, it is undisputed that the

same right existed in the sub-charter between Plaintiff Dry Bulk and 24Vision. Dkt #1

(Complaint), ¶13. Paragraph 11 of the charter between 24Vision and Amis Integrity, S.A.,

provides that if payments are not timely received, Amis Integrity, S.A., has an absolute right

to “withdraw the Vessel from the service of Charterers.” Ex. 1 to Jang Decl., ¶11. Here,

Amis Integrity, S.A., exercised that right. Dkt#1 (Complaint), ¶18. After non-payment,

Amis Integrity, S.A., had the right to withdraw, and Dry Bulk cannot assert a maritime lien

simply because Amis Integrity, S.A., exercised its contractual right.




2
  Indeed, in Cardinal Shipping the court stated it could identify “no cases in which a
subcharterer obtained a lien because the owner had exercised its right of withdrawal” before
cargo was loaded. Id. n.10.

EMERGENCY MOTION TO VACATE, FOR FEES AND COSTS; AND
REQUEST FOR EXPEDITED HEARING - Page 5
[Case No. 3:19-cv-1671]

{29293-00550342;3}
       Case 3:19-cv-01671-BR          Document 18      Filed 10/18/19     Page 6 of 12




          This withdrawal is valid under English law. Ex. 1 to Nolan Q.C. Decl. Indeed, there is

no allegation that this withdrawal was improper.

          Dry Bulk cites only one case to support the arrest, E.A.S.T v. M/V ALAIA, 876 F.2d

1168 (5th Cir. 1989), but this case does not even relate to a withdrawal of a vessel. Plaintiff

completely ignores the authority directly on point. See Cardinal Shipping, supra. 744 F.2d at

467-69.

           A valid maritime lien is a fundamental pre-requisite to the right to arrest. See Rule

C(1)(a); Spooner v. Multi Hull Foiling AC45 Vessel "4 Oracle Team USA", No. 15-cv-

00692-JCS, 2015 U.S. Dist. LEXIS 33716 (N.D. Cal. Mar. 18, 2015) (granting request for

release of vessel and vacating arrest warrant where plaintiff failed to show he has a valid

maritime lien); KTB Oil Corp. v. M/V Cielo Di Tokyo, No. 2:12-cv-01834-MCE-KJN, 2013

U.S. Dist. LEXIS 26385, at *4 (E.D. Cal. Feb. 25, 2013) (“Absent a maritime lien, Plaintiff

cannot prove that Plaintiff had the authority to arrest Defendant.”).         Here, there is no

maritime lien, and Plaintiff had no right to arrest the M/V AMIS INTEGRITY.

          2.         The Primary Charter Party’s Prohibition-of-Lien Clause Prevents Any
                     Lien

          Not only does legal precedent establish that a lien cannot be created in favor of a sub-

charterer when a vessel is withdrawn from service, where the primary charter party contains a

prohibition-of-lien provision the creation of any lien is in fact precluded. See Cardinal

Shipping Corp. v. M/S SEISHO MARU, supra., 744 F.2d at 469-70; MMI International, Inc.

v. M/V SKYROS, supra., 1991 AMC at 1270.

          Here, paragraph 23 of the charter party contains such a prohibition-of-lien clause,

Ex. 1 to Jang Decl., ¶23, and Plaintiff Dry Bulk has no legal basis for asserting the existence


EMERGENCY MOTION TO VACATE, FOR FEES AND COSTS; AND
REQUEST FOR EXPEDITED HEARING - Page 6
[Case No. 3:19-cv-1671]

{29293-00550342;3}
       Case 3:19-cv-01671-BR          Document 18      Filed 10/18/19     Page 7 of 12




of a maritime lien. The fact that the clause appears in the primary charter is no defense.

Plaintiff Dry Bulk, as sub-charterer, is charged with a duty of inquiry into the terms of this

primary charter. E.g., MMI International, 1991 AMC at 1268 (notice of prohibition-of-lien

clause held satisfied where sub-charterer could have by reasonable diligence ascertained

vessel already under charter). Moreover, there can be no doubt that Dry Bulk either knew of

the provision or would have discovered the provision upon reasonable inquiry. The charter

that Dry Bulk entered into with 24Vision stated that 24Vision was not the owner of the

vessel, identified the actual owner, and provided contract information. See Dkt#1.2 (Ex. 1 to

Complaint), p. 6 (identifying the owner and manager), p. 7 (noting that the vessel is under

charter by 24Vision), and p. 8 (referencing Owners Pro Forma Charter Party).

          3.         Movant is Entitled to Attorneys’ Fees and Costs for Wrongful Arrest

          It is an established principle of maritime law that one who suffers a wrongful arrest or

attachment may recover damages from the party who obtained the arrest or attachment. See

Furness Withy (Chartering), Inc., Panama v. World Energy Systems Associates, Inc., 854

F.2d 410 (11th Cir. 1988) (citations omitted). A party has the right to recover damages for

wrongful arrest or seizure in admiralty on a showing of bad faith, malice, or gross

negligence. Stevens v. F/V BONNIE DOON, 655 F.2d 206, 209 (9th Cir. 1981) (citations

omitted).

          Here, Plaintiff acted in bad faith and with wanton disregard for the rights of vessel

owners by arresting the M/V AMIS INTEGRITY without a legal basis. As explained above,

the law is clear that there was no maritime lien available to Dry Bulk, the sub-charterer, in

this situation. As a result, the vessel owner has incurred expenses, costs, and attorneys’ fees,

and will continue to incur costs estimated at $43,300 - $61,000 per day—off-hire alone is

EMERGENCY MOTION TO VACATE, FOR FEES AND COSTS; AND
REQUEST FOR EXPEDITED HEARING - Page 7
[Case No. 3:19-cv-1671]

{29293-00550342;3}
       Case 3:19-cv-01671-BR            Document 18      Filed 10/18/19     Page 8 of 12




$14,000 per day. Under the circumstances, the arrest should be vacated and the vessel owner

awarded is costs and attorneys’ fees through the date of the release.

          4.         An Expedited Show Cause Hearing Pursuant to Rule E(4)(f) and LR
                     1017-1 is Warranted3

          Local Rule 2017-1 states in relevant part:

                     A person or entity claiming ownership of, or an interest in,
                     property arrested or attached, or having a right to intervene with
                     respect to such property, may request a prompt hearing under Rule
                     E(4)(f) at which plaintiff must show cause why the arrest or
                     attachment should not be vacated.

          Rule E(4)(f) provides:

                     Whenever property is arrested or attached, any person claiming an
                     interest in it shall be entitled to a prompt hearing at which the
                     plaintiff shall be required to show why the arrest or attachment
                     should not be vacated or other relief granted consistent with these
                     rules.

          As the owner, Amis Integrity, S.A., obviously has the requisite interest in the vessel

under Rule E(4)(f) and Local Rule 2017-1. The vessel’s scheduled departure on October 17,

2019 for Manila, Panama, loaded with cargo, was thwarted by this wrongful arrest

proceeding, and is presently incurring additional costs and penalties as a direct consequence.

The costs exceed $50,000 already; off-hire alone is $14,000 per day; and expenses are

estimated at $43,300 - $61,000 per day while the vessel remains at berth under arrest.

Accordingly, it is crucial the Court afford Amis Integrity, S.A., by restricted appearance, the

opportunity to be promptly heard and require Plaintiff to show cause before the vessel owner

suffers considerable additional damage from delay.

3
  Additionally, the arrest warrant was not served in strict compliance with Rule C(3)(b)(i),
which requires service by a U.S. Marshal, or a person qualified to be deputized as such. See
28 CFR §0.112; Dkt #8. And, the summons is not directed to the M/V AMIS INTEGRITY or
its owners. See Dkt #14.

EMERGENCY MOTION TO VACATE, FOR FEES AND COSTS; AND
REQUEST FOR EXPEDITED HEARING - Page 8
[Case No. 3:19-cv-1671]

{29293-00550342;3}
       Case 3:19-cv-01671-BR         Document 18       Filed 10/18/19    Page 9 of 12




          This Court has held that a “probable cause” standard applies to a Rule E(4)(f) hearing.

OS Shipping Co., 2011 U.S. Dist. LEXIS 49054, at *12-13; Greger Leasing Corp. v. Barge

Pt. Potrero, No. C-05-5117 SC, 2006 U.S. Dist. LEXIS 18863, at *4 (N.D. Cal. Apr. 5,

2006) (noting that plaintiff bears the burden of showing at Rule 4(E)(f) hearing that that

“probable cause” existed to arrest vessel which "translates roughly to requiring that plaintiff

show entitlement to a maritime lien").

          Plaintiff cannot meet this standard. Because Amis Integrity’s withdrawal of the

vessel under the primary charter was proper, Plaintiff’s claims for conversion and unjust

enrichment cannot succeed. "[A] conversion is an unauthorized act which deprives another

of his property permanently or for an indefinite time." Middleton v. M/V Glory Sky I, No. 13-

21588-CIV-KING/MCALILEY, 2013 U.S. Dist. LEXIS 197098, at *5 (S.D. Fla. July 19,

2013).       Unjust enrichment “requires proof of five elements: (1) an enrichment; (2) an

impoverishment; (3) a connection between the enrichment and the impoverishment; (4) an

absence of justification or cause for the enrichment and the impoverishment; and (5) the lack

of any other remedy at law.” Glob. Towing, L.L.C. v. Marine Tech. Servs., CIVIL ACTION

NO. 98-1765 c/w 99-1590 SECTION "N", 2000 U.S. Dist. LEXIS 2278, at *18 (E.D. La.

Feb. 29, 2000). Amis Integrity’s withdrawal of the vessel was neither “unauthorized” nor

unjustified—its actions were expressly authorized under the primary charter.

          Likewise, Plaintiff has not provided evidence to support his claim for tortious

interference. "A claim for intentional interference with contractual relations requires the

plaintiff to establish: (1) the existence of a contractual or beneficial relationship; (2) the

defendant's knowledge of that relationship; (3) the defendant's intent to interfere with that

relationship; (4) that the interference was tortious; and (5) a loss suffered by the plaintiff

EMERGENCY MOTION TO VACATE, FOR FEES AND COSTS; AND
REQUEST FOR EXPEDITED HEARING - Page 9
[Case No. 3:19-cv-1671]

{29293-00550342;3}
      Case 3:19-cv-01671-BR           Document 18      Filed 10/18/19   Page 10 of 12




which was caused by the defendant's tortious conduct." Ensign Yachts, Inc. v. Arrigoni, No.

3:09-cv-209 (VLB), 2010 U.S. Dist. LEXIS 22425, at *52 (D. Conn. Mar. 11, 2010).

Plaintiff’s tortious interference claim appears to be predicated upon the belief that Amis

Integrity’s withdrawal of the vessel interfered with Plaintiff’s sub-charter with Trithorn.

Complaint ¶ 20. Plaintiff, however, has provided no evidence that Amis Integrity knew

about this sub-charter. Unless Plaintiff can establish that Amis Integrity had knowledge of

Plaintiff’s contractual relationship with Trithorn, Plaintiff’s tortious interference claim fails

as a matter of law. Moreover, as stated, the withdrawal from Amis Integrity’s charter was

valid.

          Local Rule 2017-1 clearly places the burden upon Plaintiff to “show cause why the

arrest or attachment should not be vacated.”          Unless Plaintiff can provide prima facie

evidence to show it has a valid maritime lien or can prevail on its maritime tort claims, the

arrest should be vacated.

          5.         In the Alternative, Movant Requests the Court Set a Security Amount

          The security amount of $5,641,407 requested in Plaintiff’s Complaint is grossly

inflated and unfounded. It is inconsistent with the facts and without legal support in the case

law or facts.         The only damages alleged suffered relating to Plaintiff’s next fixture is

$379,500, Dkt#1, ¶20, and there is no evidence that Amis Integrity, S.A., knew or should have

known of the alleged sub-charter with Trithorn. See also Cardinal Shipping Corp., supra.,

744 F.2d at 469 (precluding sub-charter’s lien against withdrawn vessel.).

          Moreover, without the alleged sub-charter there is no way to substantiate this claim,

and as part of the show cause hearing Plaintiff should be required to produce such evidence.




EMERGENCY MOTION TO VACATE, FOR FEES AND COSTS; AND
REQUEST FOR EXPEDITED HEARING - Page 10
[Case No. 3:19-cv-1671]

{29293-00550342;3}
      Case 3:19-cv-01671-BR          Document 18      Filed 10/18/19     Page 11 of 12




          The remaining claims for lost profits and damages for future potential fixtures are not

cognizable. As stated by the Eastern District of Louisiana, the lower court in the only case

cited by Plaintiff in its Complaint: a “charterer may not assert a lien for loss of future,

speculative profits from subcharters not yet entered into.” E.A.S.T., Inc. of Stamford v. M/V

Alaia, 673 F. Supp. 796, 803 (E.D. La. 1987).

          Additionally, as stated, the vessel owner is incurring fees and costs as a result of the

arrest and is entitled to counter security. The vessel owner has already incurred in excess of

$50,000, and will continue to incur expenses estimated at $43,300 - $61,000 per day while the

vessel remains under arrest.

                                       V. CONCLUSION

          There is no valid maritime lien and Movant, by restricted appearance, requests the

Court hold an immediate hearing, vacate the arrest, release the vessel, and award fees and cost

incurred. In the alternative, Movant requests the Court set a reasonable amount for security and

counter security for its expenses.

          DATED this 18th day of October, 2019.

                                            LE GROS, BUCHANAN & PAUL

                                            By: s/ Markus B.G. Oberg
                                               MARKUS B.G. OBERG, OSB #112187

                                            By: s/ Daniel J. Park
                                               DANIEL J. PARK, OSB #132493
                                               4025 Delridge Way SW, Suite 500
                                               Seattle, Washington 98106-1271
                                               Phone: 206-623-4990
                                               Facsimile: 206-467-4828
                                               Email: moberg@legros.com
                                               Email: dpark@legros.com
                                               Attorneys for Movant Amis Integrity, S.A., by
                                               restricted appearance

EMERGENCY MOTION TO VACATE, FOR FEES AND COSTS; AND
REQUEST FOR EXPEDITED HEARING - Page 11
[Case No. 3:19-cv-1671]

{29293-00550342;3}
      Case 3:19-cv-01671-BR                 Document 18           Filed 10/18/19         Page 12 of 12




                                            CERTIFICATE OF SERVICE

                              I hereby certify that on October 18, 2019, I electronically filed
                     the foregoing with the Clerk of the Court using the CM/ECF system,
                     which will send notification of such filing to all associated counsel.

                            I certify under penalty of perjury under the laws of the State of
                     Washington that the foregoing is true and correct.

                             Signed at Seattle, Washington this 18th day of October, 2019.

                                                s/ Shelley Courter
                                                Shelley Courter, Legal Assistant
                                                LeGros Buchanan & Paul
                                                4025 Delridge Way SW, Suite 500
                                                Seattle, Washington 98106-1271
                                                Telephone:        206-623-4990
                                                Facsimile:        206-467-4828
                                                E-mail:           scourter@legros.com




EMERGENCY MOTION TO VACATE, FOR FEES AND COSTS; AND
REQUEST FOR EXPEDITED HEARING - Page 12
[Case No. 3:19-cv-1671]

{29293-00550342;3}
